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      EXHIBIT 1
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NSO Group Statement on Facebook
Lawsuit
English




NEWS PROVIDED BY
NSO Group 
Oct 29, 2019, 19:05 ET




HERZLIYA, Israel, Oct. 29, 2019 /PRNewswire/ -- NSO Group released the following statement
in response to a lawsuit led by Facebook:


"In the strongest possible terms, we dispute today's allegations and will vigorously ght them.
The sole purpose of NSO is to provide technology to licensed government intelligence and law
enforcement agencies to help them ght terrorism and serious crime. Our technology is not
designed or licensed for use against human rights activists and journalists. It has helped to
save thousands of lives over recent years.


"The truth is that strongly encrypted platforms are often used by pedophile rings, drug
kingpins and terrorists to shield their criminal activity. Without sophisticated technologies,
the law enforcement agencies meant to keep us all safe face insurmountable hurdles. NSO's
technologies provide proportionate, lawful solutions to this issue.


"We consider any other use of our products than to prevent serious crime and terrorism a
misuse, which is contractually prohibited. We take action if we detect any misuse. This
technology is rooted in the protection of human rights – including the right to life, security
and bodily integrity – and that's why we have sought alignment with the U.N. Guiding
Principles on Business and Human Rights, to make sure our products are
respecting all fundamental human rights."
            Case 4:19-cv-07123-PJH Document 20-4 Filed 02/27/20 Page 3 of 3
About NSO Group
NSO Group develops best-in-class technology to help government agencies detect and
prevent terrorism and serious crime.
Our products help licensed government intelligence and law-enforcement agencies lawfully
address the most dangerous issues in today's world. NSO's technology has helped prevent
terrorism, break up criminal operations, nd missing persons, and assist search and rescue
teams.


SOURCE NSO Group




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